
THE prisoner was indicted at the Superior Court of law for Wythe county, in October, 1813. The indictment charged that the prisoner “ with force and arms "feloniously did steal, take, and carry away out of the “ mail of the. United States, three packages containing “ articles of value, one directed to Philadelphia, one to “ Pennsylvania, and one Northward, which packages had been delivered to Gardner L Grant, (who was mail “ carrier) to carry them from Wythe court-house to “ Montgomery court-house, contrary to the form of the « act of the congress of the United States, in such case « made and provided, and against the peace and dignity “ of the commonweath.” The prisoner was tried on this indictment, and found guilty by the jury.- He moved to *322arrest the judgment for the following reasons, "1st “ Because he says that the offence in the indictment being “ created by an act of congress, this court being a state “ court, has not jurisdiction thereof. 2d. That no judg- “ ment can be rendered, the offence being laid as a felony “ in the indictment, and a misdemesnor only by law. 3d. “ That the Indictment is insufficient, as it does not state “ what the articles of value were, which the packets ccru “ tained.”
The superior court adjourned the case to the general court, on the following points.
“ 1st. Whether as the offence described in the indict- “ ment is created by an act of congress, this court being i% a state court, has jurisdiction thereof. 2d. Whether the “ offence created by the act of congress is a felony, or “ misdemesnor only. 3d. If the offence created by the act “ of congress be only a misdemesnor, can the court give “ a judgment on the indictment in this case, which charges “ the offence to have been feloniously committed. 4th. Is “ the indictment sufficient in this case to authorize the “ court to give a judgment thereon, as the particular “ articles of value contained in the packages mentioned a in the indictment are not set out and described. 3th. “ Is it necessary to be stated in the indictment that the “ packages contained articles of value, or is the offence *32354 complete without it. 6th. if judgment is given against “ the prisoner, where is he to be confined; in the prison “ of the county where the offence was committed, or in “ the public jail and penitentiary house of this common- “ wealth.”
The general court, November 11th, 1813, consisting of judges White, Stuart, Brockenbrough, Semple, Allen, Randolph, Dabney and Daniel, entered the following judgment on their records. “ The court doth unanimously “ decide, that as the offence described in the indictment “ in this case, is created by an act of congress, the said “ superior court, being a state court, hath not jurisdiction u thereof; and that as a state court hath not jurisdiction “ of the said offence, it would be improper for this court “ to decide the other questions submitted to them in the “ said adjourned case.”
